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                                                                       CLAUDE BOWMAN
                                                                          Elizabeth Balizan




                                         Beyer, Marci




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